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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE:                                          §
                                                §
TRIAD WELL SERVICE, LLC                         §    CASE NO. 18-30150
                                                §
 DEBTOR                                         §    CHAPTER 11


       DEBTOR’S EX PARTE APPLICATION FOR AUTHORITY TO APPOINT
            AND RETAIN COUNSEL PURSUANT TO 11 U.S.C. § 327

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

       COMES NOW, Triad Well Service, LLC, the Debtor herein (the “Debtor”), and files this Ex

Parte Application for Authority to Appoint and Retain Counsel Pursuant to 11 U.S.C. § 327 (the

“Application”), and in support thereof, would respectfully show unto the Court a follows:

                                                I.

       The Debtor filed a voluntary petition for relief under Chapter 11 of Title 11 of the United

States Code on January 15, 2018 (the “Date of Petition”). From and since the Date of Petition, the

Debtor has maintained possession of its property, and has continued to remain in control of its

ongoing business affairs as a Debtor-in-possession pursuant to the provisions of 11 U.S.C. §§ 1107

and 1108.

                                               II.

       This Court has jurisdiction over the proceedings herein pursuant to 11 U.S.C. § 105, and 28

U.S.C. §§ 151, 157, and 1334. Venue is appropriate herein by virtue of 28 U.S.C. § 1408.
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                                                  III.

        This Motion has been filed Ex Parte in accordance with Bankruptcy Rule 9003. Even though

the Debtor is filing this Application on an Ex Parte basis, it is providing Notice of same to the

United States Trustee.

                                                 IV.

        Debtor has selected the law firm of Fuqua & Associates, P.C. (the “Firm”), and chooses to

designate Richard L. Fuqua of that firm as attorney-in-charge. Debtor has selected the Firm for the

reason that both Mr. Fuqua, and the members of the Firm have had considerable experience in

matters of this character, and Debtor believes that the Firm has the necessary expertise and

knowledge to represent it as a Debtor-in-possession in these proceedings.

                                                  V.

        In the operation and management of the Debtor’s business, as Debtor-in-possession,

numerous legal questions and matters will arise which require the services and advice of counsel.

The professional services to be provided by Fuqua & Associates, include, inter alia:

        (a)     to provide the Debtor legal advice with respect to its powers and duties as a Debtor-

in-possession in the continued operation of its business, and management of its property;

        (b)     to prepare all pleadings on behalf of the Debtor, as Debtor-in-possession, which may

be necessary herein;

        (c)     to negotiate and submit a potential plan of arrangement satisfactory to the Debtor, its

estate, and the creditors at large; and

        (d)     to perform all other legal services for the Debtor as a Debtor-in-possession which may

become necessary to these proceedings herein.


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        For the reasons stated above, the Debtor is of the view that it is necessary for it to be

authorized to retain counsel to assist in connection with its duties and responsibilities as a Debtor-in-

possession. The Debtor has already sought the advice and counsel of the Firm, and would submit

to this Court, that the employment of Fuqua & Associates, P.C. is in the best interests of the Debtor,

its estate, and to the Debtor’s creditors-at-large.

                                                  VI.

        To the best of Debtor’s knowledge, information and belief, Fuqua & Associates, P.C. has no

connection of any kind or nature with the Debtor, creditors, any other party in interest, their

respective attorneys and accountants, the United States Trustee or any person employed in the office

of the United States Trustee. Richard L. Fuqua and the Firm represent no interest adverse to the

Debtor or its estate in the matters upon which they have been engaged by the Debtor.

        Retention and employment of the Firm would be in the best interests of the Debtor and its

estate. The Affidavit of Proposed Counsel pursuant to 11 U.S.C. § 327(a) and Fed. R. Bktcy. P.

2014 is attached hereto and incorporated herein for all purposes as Exhibit “A”.

                                                  VII.

        At the present time, the Firm charges the following billing rates:

        Richard L. Fuqua, Attorney-in-Charge             $500.00 an hour
        Mary Ann Bartee, Associate                       $250.00 an hour
        Michael L. Fuqua, Associate                      $225.00 an hour
        T.J. O’Dowd, Legal Assistant                     $95.00 an hour

        The fees which will be charged on an hourly basis to the Debtor, as Debtor-in-possession,

will be the normal and ordinary fees charged by the Firm to its other non-bankruptcy clients, and are

favorably comparable to fees being charged by other law firms in this District for services of a



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similar nature.

       Pursuant to 11 U.S.C. §§ 330 and 331, any compensation sought in this bankruptcy case by

the Firm will be subject to the scrutiny and authority of this Court.

       The undersigned does hereby certify that he has received a copy of the Guidelines on Fee

Applications for Attorneys effective January 1, 1993 (revised May 5, 1993), that he has read and

understands the same, and that he will follow such guidelines in making all fee applications.

       WHEREFORE, PREMISES CONSIDERED, Triad Well Service, LLC, the Debtor herein,

prays for this Court to authorize the employment of the Firm; the Firm be employed on an hourly

fee basis to represent the Debtor as a Debtor-in-possession for all matters relating in any way to these

proceedings under Chapter 11 of Title 11 of the United States Code.

       Respectfully submitted this 26th day of January, 2018.


                                                       TRIAD WELL SERVICE, LLC



                                               BY:     /s/ Michael T. Kramer, President
                                                       Michael T. Kramer, President


OF COUNSEL:

FUQUA & ASSOCIATES, P.C..


By:    /s/ Richard L. Fuqua
       Richard L. Fuqua
       State Bar #07552300
       5005 Riverway, Suite 250
       Houston, Texas 77056
       Phone:         713.960-0277
       Facsimile:     713.960-1064


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                                 CERTIFICATE OF SERVICE

       This is to certify that a copy of the above and foregoing instrument was forwarded by ECF
and/or U.S. mail, first class postage prepaid to the United States Trustee, 515 Rusk St., Suite 3516,
Houston, TX 77002 on this the 26th day of January, 2018.


                                              /s/ Richard L. Fuqua
                                              RICHARD L. FUQUA




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                                            EXHIBIT “A”


                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

IN RE:                                          §
                                                §
TRIAD WELL SERVICE, LLC                         §        CASE NO. 18-30150
                                                §
 DEBTOR                                         §        CHAPTER 11

                   AFFIDAVIT OF PROPOSED COUNSEL PURSUANT TO
                     11 U.S.C.A § 327(a) AND FED. R. BKTCY. P. 2014(a)

THE STATE OF TEXAS              §
                                §
COUNTY OF HARRIS                §

       “I, Richard L. Fuqua, being duly sworn, depose and state the following:

                                                    I.

       I am an attorney-at-law duly licensed to practice in the State of Texas. I am admitted to

practice in the United States District Court for the Southern District of Texas, as well as other

Districts. Further, I am also admitted to practice before the United States Fifth Circuit Court of

Appeals. I maintain my law practice at the law firm of Fuqua & Associates, P.C., 5005 Riverway,

Suite 250, Houston, Texas 77056.

         At the present time, my services for all of the firm’s clients are billed at the rate of $500.00

an hour. The fees which shall be charged by the firm of Fuqua & Associates, P.C. to the Debtor’s

estate are as follows:

       Mary Ann Bartee, Associate                        $250.00 an hour
       Michael L. Fuqua, Associate                       $225.00 an hour
       T.J. O’Dowd, Legal Assistant                      $95.00 an hour


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                                                    II.

           Neither I nor Fuqua & Associates, P.C. have any connection of any kind or nature with the

Debtor, creditors, any other party in interest, their respective attorneys and accountants, the United

States Trustee or any person employed in the office of the United States Trustee.

           Neither I, nor the law firm of Fuqua & Associates, P.C. hold or represent any interest

adverse to the Debtor or its estate in the matters upon which we are to be engaged by the Debtor.

Fuqua & Associates, P.C. and I are both disinterested persons. Neither I nor the law firm

of Fuqua & Associates, P.C. are creditors, equity security holders, or insiders, as defined in 11

U.S.C.§ 101(31), of the Debtor.

           The employment of Fuqua & Associates, P.C. is in the best interests of the Debtor and its

estate.”

           Further, Affiant sayeth not.

                                                /s/ Richard L. Fuqua
                                                Richard L. Fuqua


        SWORN TO AND SUBSCRIBED BEFORE ME by Richard L. Fuqua, on this the 26th
day of January, 2018, to certify which witness my hand and official seal of office.



                                                /s/ Tommie Jo O’Dowd, Notary Public
                                                NOTARY PUBLIC IN AND FOR THE STATE OF TEXAS
                                                My Commission Expires: Feb. 16, 2018




                                                                                                Page 7
